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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION


UNITED STATES OF AMERICA,
                             Plaintiff,

                 v.                           Case No. 3:17-CV-2989

$4,480,466.16 IN FUNDS SEIZED FROM
BANK OF AMERICA ACCOUNT ENDING
IN 2653;

$146,370.00 IN FUNDS SEIZED FROM
BANK OF AMERICA ACCOUNT ENDING
IN 0252;

$77,437.59 IN FUNDS SEIZED FROM
CHARLES SCHWAB ACCOUNT ENDING
IN 8588;

$263.47 in FUNDS SEIZED FROM WELLS
FARGO ACCOUNT ENDING IN 2092;

$9,668.28 IN FUNDS SEIZED FROM
BANK OF UTAH ACCOUNT ENDING IN
2251;

$2,814.51 IN FUNDS SEIZED FROM
BANK OF UTAH ACCOUNT ENDING IN
8074;

A 2014 LAMBORGHINI AVENTADOR
(VIN ZHWUR1ZD0ELA02916);

A 2016 FERRARI 488 (VIN
ZFF80AMA0G0219421);

A 2017 BENTLEY CONTINENTAL GT V8
(VIN SCBFH7ZA0HC063118);

A 2017 MERCEDES-BENZ AMG S63 (VIN
WDDUG7JB4HA325733);




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 A 2016 MERCEDES-BENZ G63 (VIN
 WDCYC7DF4GX258941);

 A 2016 DODGE RAM 2500 (VIN
 3C6UR5DL1GG314858);

 A 2016 BMW ALPINA (VIN
 WBA6DC6C54GGK18160);

 REAL PROPERTY KNOWN AS 14888
 LAKE FOREST DRIVE, DALLAS, TEXAS;

 $11,005.00 IN FUNDS SEIZED FROM
 CAPITAL ONE ACCOUNT ENDING IN
 2713

 REAL PROPERTY KNOWN AS 195
 NORTH 200 WEST, LOGAN, UTAH

 REAL PROPERTY KNOWN AS 1408
 WEST 2125 SOUTH, LOGAN, UTAH

                            Defendants in rem

                   CLAIMANTS’ RESPONSE IN OPPOSITION TO
               UNITED STATES’ MOTION FOR A PROTECTIVE ORDER

       Retail Ready Career Center, Inc. (“RRCC”), Jonathan Davis (“Davis”), Melissa Richey

(“Richey”), Lake Forrest Drive Properties, Inc. (“Lake Forrest”), Clear Conscience LLC (“Clear

Conscience), and Trades United Inc. (“Trades United”) (collectively, the “Claimants”) file this

Response in Opposition to United States’ Motion for Protective Order as follows:

                                         I.
                               PRELIMINARY STATEMENT

       In a transparent attempt to hide its increasingly obvious malfeasance from public scrutiny,

the Government has requested that the Court seal the appendices filed by the Claimants in support

of their motions for summary judgment. This case has proceeded in darkness long enough, and

the Government’s Motion should be denied because there is no basis for it whatsoever.



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                                          II.
                               ARGUMENTS AND AUTHORITIES

       Federal Rule of Civil Procedure 5.2 requires redactions in only extremely limited

circumstances. 1 In particular, only social security numbers, tax-payer-identification numbers,

birth-dates, names of minors, and financial-account numbers need to be redacted. 2 None of the

“personally identifiable information” referenced in the Motion for a Protective Order (“Motion”)

is required to be redacted by Rule 5.2(a). 3 Indeed, the information referenced in the Motion is

commonly available in searchable databases and could hardly be considered confidential. 4 Thus,

there is no reason whatsoever to seal the entirety of Claimant’s appendices.

       Indeed, it is fairly obvious why the Government wants the appendices sealed. The

appendices show the world that the Government’s case is completely bogus. The Government

would undoubtedly use the “sealed” nature of the appendices to file a “sealed” response which will

further hide the bogus nature of the Government’s case. Sealing court records with no basis for

doing so merely adds burdens to the filing of future briefs and is inconsistent with the open nature

of the court system. The Motion should be denied.




       1
           FED. R. CIV. P. 5.2(a).
       2
           See id.
       3
         See United States Motion for A Protective Order (Docket No. 194) at 2 (referencing
addresses, e-mail addresses, and phone numbers).
       4
         In a footnote, the Government also references account numbers appearing in Claimants’
bank statements. See Motion at 1, ¶ 3. Such information does not need to be redacted in a forfeiture
case. See Fed. R. Civ. P. 5.2(b)(1). Moreover, Claimants can obviously waive confidentiality of
their own bank statements. See Fed. R. Civ. P. 5.2(h).

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                                          III.
                                   REQUEST FOR RELIEF

        For the foregoing reasons, Claimants respectfully request that the Court deny the Motion

and grant Claimants such other and further relief, at law or in equity, to which they may be justly

entitled.




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                                  Respectfully submitted,


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                                  DRIVE        PROPERTIES,     INC., CLEAR
                                  CONSCIENCE, LLC, AND TRADES UNITED,
                                  INC.




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                               CERTIFICATE OF SERVICE
       I certify that on November 21, 2018, I electronically filed the foregoing document with the

Clerk for the United States District Court for the Northern District of Texas using the CM/ECF

System, and that service of such filing will be made electronically on all counsel of record,

including counsel for the United States of America, Beverly K. Chapman.

                                                                   /s/ Jack G. B. Ternan
                                                            Jack G. B. Ternan




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